                                    Case 1:18-bk-10098-MB            Doc 305 Filed 04/13/18 Entered 04/13/18 10:38:52        Desc
                                                                      Main Document    Page 1 of 12


                                     1   MARK A. MINTZ, admitted pro hac vice
                                         mmintz@joneswalker.com
                                     2   JONES WALKER LLP
                                         201 St. Charles Ave., Suite 5100
                                     3   New Orleans, LA 70170
                                         Tel: (504) 582-8000 / Fax: (504) 589-8368
                                     4
                                         General Counsel for Penthouse Clubs Worldwide, LLC
                                     5
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                                     6   jbain@joneswalker.com
                                         JONES WALKER LLP
                                     7   811 Main St., Suite 2900
                                         Houston, TX 77002
                                     8   Tel: (713) 437-1820 / Fax: (713) 437-1917

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                                    11   BEST BEST & KRIEGER LLP
      BEST BEST & KRIEGER LLP




                                         3390 University Avenue, 5th Floor
        RIVERSIDE, CA 92502




                                    12   P.O. Box 1028
          LAW OFFICES OF


           P.O. BOX 1028




                                         Riverside, CA 92502
                                    13   Tel: (951) 686-1450 / Fax: (951) 686-3083

                                    14   Local Counsel for Penthouse Clubs Worldwide, LLC

                                    15                                  UNITED STATES BANKRUPTCY COURT

                                    16                                      CENTRAL DISTRICT OF CALIFORNIA

                                    17                                      SAN FERNANDO VALLEY DIVISION

                                    18   In re:                                             Case No. 1:18-bk-10098-MB

                                    19   PENTHOUSE GLOBAL MEDIA, INC.,                      Chapter: 11
                                    20                            Debtor.

                                    21   In re:                                             Jointly Administered With:
                                    22   Penthouse Global Broadcasting, Inc.                              1:18-bk-10099-MB
                                         Penthouse Global Licensing, Inc.                                 1:18-bk-10101-MB
                                    23   Penthouse Global Digital, Inc.                                   1:18-bk-10102-MB
                                         Penthouse Global Publishing, Inc.                                1:18-bk-10103-MB
                                    24   GMI Online Ventures, Ltd.                                        1:18-bk-10104-MB
                                         Penthouse Digital Media Productions, Inc.                        1:18-bk-10105-MB
                                    25   Tan Door Media, Inc.                                             1:18-bk-10106-MB
                                         Penthouse Images Acquisitions, Ltd.                              1:18-bk-10107-MB
                                    26   Pure Entertainment Telecommunications, Inc.                      1:18-bk-10108-MB
                                         XVHUB Group, Inc.                                                1:18-bk-10109-MB
                                    27   General Media Communications, Inc.                               1:18-bk-10110-MB
                                         General Media Entertainment, Inc.                                1:18-bk-10111-MB
                                    28   Danni Ashe, Inc.                                                 1:18-bk-10112-MB
                                                                                                    NOTICE OF TRANSFER OF CLAIM OTHER
                                         65264.00001\30925013.1
                                                                                                                    THAN FOR SECURITY
                                    Case 1:18-bk-10098-MB            Doc 305 Filed 04/13/18 Entered 04/13/18 10:38:52         Desc
                                                                      Main Document    Page 2 of 12


                                     1   Streamray Studios, Inc.,                                          1:18-bk-10113-MB
                                     2                            Debtors.
                                     3    Affects all Debtors                             NOTICE OF TRANSFER OF CLAIM
                                          Affects PENTHOUSE GLOBAL MEDIA,                 OTHER THAN FOR SECURITY
                                     4   INC.

                                     5
                                                  PLEASE TAKE NOTICE of the filing of a Transfer of Claim Other Than for Security in
                                     6

                                     7   the Penthouse Global Broadcasting, Inc. bankruptcy case with respect to the scheduled claim of

                                     8   Elisabeth Anne Yates, as transferor, to Penthouse Clubs Global Licensing, LLC, as transferee, a

                                     9   true and correct copy of which is attached hereto as Exhibit 1.
                                    10   Dated: April 13, 2018                             JONES WALKER LLP
3390 UNIVERSITY AVENUE, 5TH FLOOR




                                    11
      BEST BEST & KRIEGER LLP


        RIVERSIDE, CA 92502




                                    12
          LAW OFFICES OF




                                                                                           By:
           P.O. BOX 1028




                                                                                                 MARK A. MINTZ
                                    13                                                           JOSEPH E. BAIN
                                                                                                 General Counsel for Penthouse Clubs
                                    14                                                           Worldwide, LLC
                                    15   Dated: April 13, 2018                             BEST BEST & KRIEGER LLP
                                    16

                                    17                                                     By: /s/ Cathy Ta
                                    18                                                        CATHY TA
                                                                                              Local Counsel for Penthouse Clubs
                                    19                                                        Worldwide, LLC

                                    20

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                         Main Document    Page 3 of 12




                  EXHIBIT 11
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                                    Case
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                                    16                                      CENTRAL DISTRICT OF CALIFORNIA

                                    17                                      SAN FERNANDO VALLEY DIVISION

                                    18   In re:                                             Case No. 1:18-bk-10098-MB

                                    19   PENTHOUSE GLOBAL MEDIA, INC.,                      Chapter: 11
                                    20                            Debtor.

                                    21   In re:                                             Jointly Administered With:
                                    22   Penthouse Global Broadcasting, Inc.                              1:18-bk-10099-MB
                                         Penthouse Global Licensing, Inc.                                 1:18-bk-10101-MB
                                    23   Penthouse Global Digital, Inc.                                   1:18-bk-10102-MB
                                         Penthouse Global Publishing, Inc.                                1:18-bk-10103-MB
                                    24   GMI Online Ventures, Ltd.                                        1:18-bk-10104-MB
                                         Penthouse Digital Media Productions, Inc.                        1:18-bk-10105-MB
                                    25   Tan Door Media, Inc.                                             1:18-bk-10106-MB
                                         Penthouse Images Acquisitions, Ltd.                              1:18-bk-10107-MB
                                    26   Pure Entertainment Telecommunications, Inc.                      1:18-bk-10108-MB
                                         XVHUB Group, Inc.                                                1:18-bk-10109-MB
                                    27   General Media Communications, Inc.                               1:18-bk-10110-MB
                                         General Media Entertainment, Inc.                                1:18-bk-10111-MB
                                    28   Danni Ashe, Inc.                                                 1:18-bk-10112-MB
                                                                                                    TRANSFER OF CLAIM OTHER THAN FOR
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                                     1   Streamray Studios, Inc.,                                           1:18-bk-10113-MB
                                     2                            Debtors.
                                     3    Affects all Debtors                              TRANSFER OF CLAIM OTHER THAN
                                          Affects PENTHOUSE GLOBAL                         FOR SECURITY
                                     4   BROADCASTING, INC.

                                     5
                                                  Attached hereto is a Transfer of Claim Other Than for Security with respect to the
                                     6

                                     7   scheduled claim of Elisabeth Anne Yates, as transferor, to Penthouse Clubs Global Licensing,

                                     8   LLC, as transferee.

                                     9   Dated: April 13, 2018                              JONES WALKER LLP
                                    10
3390 UNIVERSITY AVENUE, 5TH FLOOR




                                    11                                                      By:
      BEST BEST & KRIEGER LLP




                                                                                                  MARK A. MINTZ
        RIVERSIDE, CA 92502




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          LAW OFFICES OF




                                                                                                  JOSEPH E. BAIN
           P.O. BOX 1028




                                                                                                  General Counsel for Penthouse Clubs
                                    13                                                            Worldwide, LLC
                                    14   Dated: April 13, 2018                              BEST BEST & KRIEGER LLP
                                    15

                                    16                                                      By: /s/ Cathy Ta
                                                                                               CATHY TA
                                    17                                                         Local Counsel for Penthouse Clubs
                                                                                               Worldwide, LLC
                                    18

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                                                                                                        TRANSFER OF CLAIM OTHER THAN FOR
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  B 2100A (Form
          (Form 2100A) (12/15)



                           UNITED STATES
                           UNITED STATESBANKRUPTCY COURT
                                         BANKRUPTCYCOURT
                                                      Central
                                                      Central District
                                                              Districtof California
                                                                         California

  In re Penthouse
  In re           GlobalMedia,
        PenthouseGlobal Media, Inc.
                               Inc. , et
                                      et al.                                                          Case No. 18-10098
                                                                                                                18-10098




                      TRANSFER
                      TRANSFEROF
                               OF CLAIM
                                  CLAIMOTHER
                                        OTHERTITAN FOR SECURITY
                                             THAN FOR  SECURITY
  A CLAIM
    CLAIM HASHAS BEEN       FILEDIN THIS
                    BEEN FILED               CASE or
                                       THISCASE      or deemed
                                                        deemed filed
                                                               filed under
                                                                     under11 U.S.C.
                                                                              U.S.C. § 1111(a).
                                                                                         1111(a). Transferee
                                                                                                  Transferee
  hereby gives evidence
  hereby        evidence and
                           and notice
                               notice pursuant
                                      pursuantto
                                               to Rule
                                                  Rule 3001(e)(2), Fed.  R. Bankr.
                                                                    Fed. R. Bankr.P.,
                                                                                   P., of the
                                                                                          the transfer,
                                                                                              transfer,other
                                                                                                        other
  than for
  than for security,    the claim
           security, of the claim referenced
                                  referencedin this
                                                this evidence
                                                     evidence and
                                                              and notice.
                                                                   notice.



   Penthouse Clubs
   Penthouse       Global Licensing,
             Clubs Global Licensing, LLC
                                     LLC                                        Elisabeth
                                                                                Elisabeth Ann
                                                                                          Ann Yates
                                                                                              Yates
         Name of Transferee
         Name    Transferee                                                             Name
                                                                                        Name of Transferor
                                                                                                Transferor

  Name and
       and Address
           Addresswhere
                   where notices    transferee
                         notices to transferee                                  Court
                                                                                Court Claim
                                                                                      Claim # (if known):
                                                                                                  known):
                                                                                Amount of Claim:
                                                                                Amount    Claim:       $1,200.00
  sh
  sh~c~l~e~s~arles   Ave., Ste.
    gAl?.edRraii-les Ave., Ste. 3915
                                3915
                                                                                Date Claim
                                                                                     Claim Filed:
                                                                                           Filed:
    New
    New Orleans,   LA 70170
         Orleans, LA  70170

           504-267-5498
  Phone: 504-267-5498                                                           Phone:
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  Name  and Address
  Name and   Address where    transfereepayments
                       where transferee payments
  should be sent
  should             differentfrom above):
            sent (if different      above):



  Phone:
  Phone:
  Last Four Digits of Acct #:
  Last Four



  I declare
    declare un.iik       ty of perjury
            un. - ppe.alty     perjurythat
                                        thatthe informationprovided
                                            the information providedin this
                                                                       this notice
                                                                            notice is true
                                                                                      trueand
                                                                                           and correct
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  By:
                        4     J Agent                                                 04/12/2018
                                                                               Date: 04/12/2018
          Transferee/Transferee's
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 Penaltyfor
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         for making                                                imprisonment for up
                                                       $500,000 or imprisonment     up to
                                                                                       to 55 years,
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                                                                                                    or both. 18 U.S.C.
                                                                                                       both. 18           152 & 3571.
                                                                                                                U.S.C. §§ 152
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3390 University Ave., 5th Floor, Riverside, CA 92501


A true and correct copy of the foregoing document entitled (specify):
TRANSFER OF CLAIM OTHER THAN FOR SECURITY


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b ) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 13, 2018      , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 13, 2018      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY , OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 13, 2018      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

April 13, 2018                 Lisa Spencer                                                    /s/ Lisa Spencer
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                        SERVICE LIST



In re: Penthouse Global Media, Inc.
1:18-bk-10098-MB



No. 1 (NEF)

   Ron Bender rb@lnbyb.com
   Linda F Cantor lcantor@pszjlaw.com, lcantor@pszjlaw.com
   Russell Clementson russell.clementson@usdoj.gov
   Brian L Davidoff bdavidoff@greenbergglusker.com,
    calendar@greenbergglusker.com;jking@greenbergglusker.com
   James A Dumas jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com
   Jeffrey K Garfinkle jgarfinkle@buchalter.com,
    docket@buchalter.com;dcyrankowski@buchalter.com
   Allan B Gelbard xxxesq@aol.com, Allan@GelbardLaw.com
   David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
    dgottlieb@iq7technology.com,rjohnson@dkgallc.com,akuras@dkgallc.com
   Mirco J Haag mhaag@buchalter.com, dcyrankowski@buchalter.com
   David W. Meadows david@davidwmeadowslaw.com
   Krikor J Meshefejian kjm@lnbrb.com
   Alan I Nahmias anahmias@mbnlawyers.com, jdale@mbnlawyers.com
   Iain A W Nasatir inasatir@pszjlaw.com, jwashington@pszjlaw.com
   Hamid R Rafatjoo hrafatjoo@raineslaw.com,
    bclark@raineslaw.com;cwilliams@raineslaw.com (Attorney for Creditors’ Committee)
   S Margaux Ross margaux.ross@usdoj.gov
   Michael St James ecf@stjames-law.com
   Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;laik@gtlaw.com
   Cathy Ta cathy.ta@bbklaw.com,
    Arthur.Johnston@bbklaw.com;lisa.spencer@bbklaw.com
   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
   Michael H Weiss mw@weissandspees.com, lm@weissandspees.com
   Michael H Weiss lm@weissandspees.com, lm@weissandspees.com
   Christopher K.S. Wong christopher.wong@arentfox.com
   Beth Ann R Young bry@lnbyb.com


No. 3 (Personal Delivery)

Hon. Judge Martin R. Barash
United States Bankruptcy Court
Bin on first floor outside WH entry to Intake Section


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4/13/18
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No. 2 (U. S. Mail)

Debtor
Penthouse Global Media, Inc.
8944 Mason Ave.
Chatsworth, CA 91311

Penthouse Global Broadcasting, Inc.
8944 Mason Ave.
Chatsworth, CA 91311

Request for Notice

Attorneys for Penthouse Clubs Worldwide
Mark A. Mintz
Jones Walker LLP
201 St. Charles Ave., Suite 5100
New Orleans, LA 70170-5100

Joseph E. Bain
Jones Walker LLP
811 Main St., Suite 2900
Houston, TX 77002

Attorneys for LSC Communications US, LLC
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Aram Ordubegian
Arent Fox LLP
555 West Fifth St., 48th Floor
Los Angeles, CA 90013-1065

Robert M. Hirsh
Arent Fox LLP
1675 Broadway
New York, NY 10019-5820




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4/13/18
       Case 1:18-bk-10098-MB                      Doc 305 Filed 04/13/18 Entered 04/13/18 10:38:52                                       Desc
                                                   Main Document    Page 10 of 12


                                         PROOF OF SERVICE OF DOCUMENT
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A true and correct copy of the foregoing document entitled (specify):
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                                                                                            Service information continued on attached page

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for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 13, 2018      , I served
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such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

April 13, 2018                 Lisa Spencer                                                    /s/ Lisa Spencer
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
Case 1:18-bk-10098-MB        Doc 305 Filed 04/13/18 Entered 04/13/18 10:38:52          Desc
                              Main Document    Page 11 of 12


                                        SERVICE LIST



In re: Penthouse Global Media, Inc.
1:18-bk-10098-MB



No. 1 (NEF)

   Ron Bender rb@lnbyb.com
   Linda F Cantor lcantor@pszjlaw.com, lcantor@pszjlaw.com
   Russell Clementson russell.clementson@usdoj.gov
   Brian L Davidoff bdavidoff@greenbergglusker.com,
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   James A Dumas jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com
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   Allan B Gelbard xxxesq@aol.com, Allan@GelbardLaw.com
   David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
    dgottlieb@iq7technology.com,rjohnson@dkgallc.com,akuras@dkgallc.com
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   David W. Meadows david@davidwmeadowslaw.com
   Krikor J Meshefejian kjm@lnbrb.com
   Alan I Nahmias anahmias@mbnlawyers.com, jdale@mbnlawyers.com
   Iain A W Nasatir inasatir@pszjlaw.com, jwashington@pszjlaw.com
   Hamid R Rafatjoo hrafatjoo@raineslaw.com,
    bclark@raineslaw.com;cwilliams@raineslaw.com (Attorney for Creditors’ Committee)
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